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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 23-cv-01830-CYC

 JOAV KOHN,

        Plaintiff/Counter Defendant,

 v.

 RIEDER NORAM INC. d/b/a Rieder North America,

        Defendant/Cross Claimant/Counter Claimant/Counter Defendant,

 v.

 PAUL INGE CUSTOM BUILDING, LLC,

       Cross Defendant/Counter Claimant.
 ______________________________________________________________________________

                                   MINUTE ORDER
 ______________________________________________________________________________
 Entered by Cyrus Y. Chung, United States Magistrate Judge, on July 11, 2025.

        This matter is before the Court on the plaintiff’s Unopposed Motion to Strike, ECF No.
 110, which asks the Court to strike the filing at ECF No. 105 because it is duplicative of the
 document filed at ECF No. 107. For good cause, it is hereby ORDERED that the motion, ECF
 No. 110, is GRANTED.

        Accordingly, it is further ORDERED that the Clerk of the Court shall STRIKE ECF No.
 105 from the docket.
